 Case 20-04009-elm Doc 67 Filed 09/21/21             Entered 09/21/21 17:00:08         Page 1 of 2




Charles M. Rubio, Texas Bar No. 24083768
Parkins Lee & Rubio LLP
Pennzoil Place
700 Milam Street, Suite 1300
Houston, Texas 77002
Telephone: 212-763-3331
Email: crubio@parkinslee.com

Counsel to Kapitus Servicing Inc.

                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS

 In re:
                                                    Case No. 1944181-elm
 DWAYNE PAUL BRIDGES AND
 DANA MICHELLE BRIDGES                              Chapter 7

           Debtors.


 KAPITUS SERVICING INC.                             Adv. Pro. No. 20-04009-elm

           Plaintiff,

 v.

 DWAYNE PAUL BRIDGES

           Defendant.


            PLAINTIFF’S MOTION TO REDACT PURSUANT TO RULE 9037(h)


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Kapitus Servicing Inc., as servicing agent for TVT Capital, LLC (“Kapitus” or the

“Plaintiff”) hereby files this Motion to Redact Pursuant to Rule 9037(h) (the “Motion”) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). Plaintiff proposes to redact

certain private information that was inadvertently filed in the attachments to the Plaintiff’s Witness

and Exhibit List [ECF No. 66] and Appendix to Plaintiff’s Brief [ECF No. 51]. In accordance
 Case 20-04009-elm Doc 67 Filed 09/21/21            Entered 09/21/21 17:00:08      Page 2 of 2




with subsection (2) of Rule 9037(h), proposed copies of the redacted documents are attached

herewith.

       For the reasons stated above, Kapitus respectfully request that this Court grant the Motion

and provide any other relief which is just and proper.

Dated: September 21, 2021                            Respectfully submitted,

                                                     PARKINS LEE & RUBIO LLP

                                                     /s/ Charles M. Rubio
                                                     Charles M. Rubio P.C.
                                                     Texas Bar No. 24083768
                                                     Parkins Lee & Rubio LLP
                                                     Pennzoil Place
                                                     700 Milam Street, Suite 1300
                                                     Houston, Texas 77002
                                                     Telephone: 212-763-3331
                                                     Email: crubio@parkinslee.com

                                                     Counsel to Kapitus Servicing Inc.




                                                2
